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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-cr-352 (JEB)
                                               :
MARC ANTHONY BRU,                              :
                                               :
                       Defendant.              :


                      GOVERNMENT’S RESPONSE TO
          DEFENDANT’S MOTION TO MODIFY CONDITIONS OF RELEASE

       In response to the defendant’s motion to modify the conditions of his release, the

government states the following:

       As defense counsel notes, the government defers to the Court on Mr. Bru’s request to travel.

The government has no information or knowledge regarding Mr. Bru’s plans aside from those that

Mr. Bru included in his motion—that the travel is for a business purpose. Defense counsel has

represented that Mr. Bru would not need to travel to Washington, D.C. to travel to Arlington,

Virginia, and thus would not violate his condition that he stay away from Washington, D.C., except

for limited court, pretrial, or legal purposes. See Dkt. 7 at 2 (outlining this condition).

       The government contacted the United States Pretrial and Probation Office that supervises

Mr. Bru in the Eastern District of Washington. That office’s position was communicated to the

government by the duty United States Pretrial/Probation Officer, and is as follows:

       At this time, [the duty probation officer is] not supporting his request for travel, given the
       nature of his pending case and it appears he was over 30 minutes late returning from his
       curfew last night. [Mr. Bru’s probation officer,] USPO Schull[,] did suggest to Mr. Bru
       that he look into the possibility of the [business meeting occurring in Washington] instead.
       Therefore, we would defer to the Court to make a decision in this matter.
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       The government does not oppose Mr. Bru’s separate request to modify his curfew to 11:00

p.m. to avoid a conflict with his employment.



                                            Respectfully submitted,

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                                            Acting United States Attorney
                                            D.C. Bar No. 415793



                                     By:    /s/ William Dreher
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